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                         EXHIBIT J
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                                          May 12, 2025

Dr. Alan Garber
Office of the President
Harvard University
Massachusetts Hall
Cambridge, MA 02138


Dr. Garber:
       This letter is to notify you that HUD’s Office of Lead Hazard Control and Healthy
Homes (OLHCHH) plans to terminate two Lead and Healthy Homes Technical Studies grants
MAHHU0068-21 and MAHHU0069-22, pursuant to its authority under 2 C.F.R. § 200.340(a)(4)
and the grant terms and conditions.
         As provided in Section 45 of the Lead and Healthy Homes Technical Studies (LHHTS)
Grant Programs Terms and Conditions, the award may be “terminated in whole or in part before
the end of the performance period when the Grantee and/or subgrantee has failed to comply with
the terms, conditions, standards, or provisions of this award, or if an award no longer effectuates
the program goals or agency priorities.” Additionally, 2 C.F.R. § 200.340(a)(4) provides that a
Federal award may be terminated if “an award no longer effectuates the program goals or agency
priorities.”
       HUD has determined that these awards no longer effectuate agency priorities. Harvard
may object and provide information and documentation challenging these terminations as
provided in Section 14 of the Lead and Healthy Homes Technical Studies (LHHTS) Grant
Programs Terms and Conditions.
        Harvard should commence closeout activities as described in Form HUD-1044, section
II.8 and OLHCHH grant policy notice 2020-06, “Closeout Procedures for OLHCHH Grantees”.
Your Government Technical Representative will provide additional information in a follow-up
communication to your assigned project managers.


                                             Sincerely,


                                             Tara J. Radosevich
                                             Acting Division Director, Grant Services Division



                                            www.hud.gov
